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             EXHIBIT B
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                                                                    First Instance, Superior Chamber of Caguas. Through said
                 2016 WL 5369286 (TCA)                              opinion, the court appealed against dismissed with prejudice
                                                                    all the causes of action brought by Mr. Ayala against
   Samuel AYALA OTERO, Plaintiff and Appellant                      Telemundo de Puerto Rico, Inc., ES Televisión, Corp., Saudy
                                                                    Rivera, Leopoldo Fernández Rivera, Diosdada Romero López,
                           vs.
                                                                    Tomás Ramos Cruz, and Raad Broadcasting, Corp.
  Eduardo RIVERA NIEVES, Insurance Company A;
  Omar Matos; William Venegas; Editorial Televisa–                  Similarly, it dismissed with prejudice the claim for defamation
  Puerto Rico, h/n/c Revista TV y Novelas de Puerto                 filed by Mr. Ayala against Editorial Televisa Puerto Rico, Inc.,
   Rico; Insurer B; Leo Fernandez III; Saudy Rivera;                Omar Matos Figueroa, and William Venegas Guzmán, but left
  Soraya Sanchez; Es Televisión Corp; Telemundo of                  valid the cause of action for the violation of image rights
   Puerto Rico Inc.; Insurance Company C; Diosdada                  against these three defendants.
    Romero; Tomas Ramos, t/c/c Red Shadow; Raad
                                                                    After evaluating the merits of both appeals, reviewing de novo
 Broadcasting Corp; Insurer D; So-and-so, Defendants
                                                                    the motions for summary judgment filed, under the review
   and Appellees. Samuel Ayala Otero, Plaintiff and
                                                                    standard established for this intermediate court, we resolve to
                        Appellee                                    confirm the appealed opinion to the fullest extent.
                           vs.
 Eduardo Rivera Nieves, Insurance Company A; Omar                   Let us see the relevant facts and the procedural route of the
  Matos; William Venegas; Editorial Televisa–Puerto                 case before our consideration.
   Rico, h/n/c Revista TV y Novelas de Puerto Rico;
  Insurer B; Leo Fernandez III; Saudy Rivera; Soraya                                               I
  Sanchez; Es Televisión Corp; Telemundo of Puerto
                                                                    On May 20, 2014, Mr. Samuel Ayala Otero filed a lawsuit for
 Rico Inc.; Insurance Company C; Diosdada Romero;                   defamation, libel, slander, the right to his own image, and
 Tomas Ramos, t/c/c Red Shadow; Raad Broadcasting                   damages against Mr. Eduardo Rivera Nieves and the co-
Corp; Insurer D; So-and-so, Defendants and Appellants.              defendants in the header, for having disseminated supposedly
                                                                    defamatory information about his person. 4 He alleged that he
                    APPEALS COURT                                   was a municipal police officer in the Municipality of Gurabo
                  Case No.: E DP20140136                            and that he had a consensual relationship with Mr. Rivera
            KLAN201600735 CONSOLIDATED                              Nieves, which ended in February 2013. He argued that, after
                  WITH KLAN201600763                                the alleged intimidating behavior of Mr. Rivera Nieves against
                       June 27, 2016.                               him, he requested, ex parte, two protection orders for stalking,
         In San Juan, Puerto Rico, on June 27, 2016.                which he was granted. 5

APPEAL from the Court of First Instance, Superior Chamber           He added in the lawsuit that Mr. Rivera Nieves filed two
of Caguas                                                           lawsuits against him, one administrative and the other
Regarding: Damages                                                  criminal, based on false facts. 6 In addition, he offered “his
                                                                    false and mendacious version” to the journalist Omar Matos
Panel composed of its presiding judge, Judge Fraticelli             Figueroa, who, together with Mr. William Venegas Guzmán
Torres, Judge Ramos Torres, and Judge Steidel Figueroa 1            and Editorial Televisa, published in the magazine TV y
                                                                    Novelas Puerto Rico 7 a two-page article on the
                        JUDGMENT                                    aforementioned, without corroborating the veracity of that
                                                                    information. He reported that a photograph of him was
FRATICELLI TORRES, REPORTING JUDGE                                  included on the cover of the magazine that was published on
                                                                    May 23, 2013, as well as inside it, without his authorization.
*1 Mr. Samuel Ayala Otero, 2 Editorial Televisa–Puerto Rico,
h/n/c Revista TV y Novelas de Puerto Rico, and Messrs. Omar
Matos Figueroa and William Venegas Guzmán 3 appear, with
separate recourses for appeal, to request a review of the partial
summary judgment issued on April 12, 2015 by the Court of



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Mr. Ayala Otero alleged in his lawsuit that the alleged              These four litigants appealed the judgment before this
defamatory content was disseminated, on the same date, by the        intermediate court. In the KLAN201600735 case, Mr. Ayala
other defendants, through a radio program, El relajo matutino,       Otero pointed out the following errors to the Court of First
8
  and another television program, Dando candela.9 Finally,           Instance:
Mr. Ayala Otero argued in his claim that these events caused
him to be hospitalized to receive treatment for major                   The honorable Court of First Instance erred in dismissing a
depression, and anxiety and panic attacks. He requested                 lawsuit for damages for defamation, libel, and slander
compensation amounting to $2,050,000.00. 10                             through the summary judgment mechanism, when there are
                                                                        essential disputes regarding the elements of the cause of
*2 All the defendants submitted their responsive arguments in           action and when the credibility of the witnesses is in
a timely manner. 11 The parties then conducted an extensive             dispute.
investigation of the proof, including depositions and
interrogations, and filed dispositive motions. 12 The Court of          The honorable Court of First Instance erred in making
First Instance held an argumentative hearing on March 7, 2016           determinations of fact that were disputed by the plaintiff by
to discuss the respective requests for a summary judgment,              means of clear, robust, and convincing proof and in
which were submitted to its disposition that day.                       determining that elements of defamation cannot be proven
                                                                        under the standard of actual malice when there are
On April 12, 2016, the court a quo issued the partial summary           admissions on the part of the co-defendants.
judgment appealed in which it dismissed with prejudice all the
causes of action filed against all the defendants, except those      Mr. Ayala Otero accompanied his appeal with an urgent
filed against Mr. Rivera Nieves and the claim for the right to       motion in aid of jurisdiction and requested the suspension of
his own image directed against Editorial Televisa and Messrs.        the proceedings under way before the court of first instance,
Matos Figueroa and Venegas Guzmán.                                   particularly, the preliminary hearing that was scheduled for
                                                                     June 15, 2016. The appellee parties acquiesced to his stay
As indicated, the court of first instance left active the cause of   request. By means of a resolution to that effect, on June 9,
action for the violation of image rights against Editorial           2016, we declared the motion in aid of jurisdiction upheld and
Televisa Puerto Rico, Inc., Omar Matos Figueroa, and William         ordered the requested stay.
Venegas Guzmán, an appeal that we deal with in recourse
KLAN201600763.                                                       *3 As anticipated, on June 3, 2016, Editorial Televisa Puerto
                                                                     Rico, Inc. and Messrs. Matos Figueroa and Venegas Guzmán
Mr. Eduardo Rivera Nieves continues as a defendant in all the        appeared in a joint appeal, case KLAN201600763, in which
actions originally filed against him by Mr. Ayala Otero. He did      they indicated that the sentencing court made the following
not file a recourse in a timely manner before this court.            mistakes:
Regarding him, the lawsuit in the case files continues its
ordinary course.                                                        The Court of First Instance erred in ruling that Editorial
                                                                        Televisa Puerto Rico, Inc., William Venegas, and Omar
Dissatisfied with the summary opinion, Mr. Ayala Otero asked            Matos had not put it in a position to adjudicate, through the
the Court of First Instance to reconsider its decision, 13, which       summary judgment mechanism, the cause of action for
was denied. 14 In turn, Editorial Televisa Puerto Rico, Inc.,           violation of the right to one’s own image, as recognized by
Omar Matos Figueroa, and William Venegas Guzmán filed a                 Law 139 of 2011.
motion for reconsideration, to achieve a partial revocation of
the summary judgment regarding the cause of action related to           The Court of First Instance erred in not dismissing the
image rights. 15 The court also did not accept this motion for          cause of action for the violation of the right to one’s own
partial reconsideration. 16                                             image, as recognized by Law 139 of 2011 and determining
                                                                        that the image published by Editorial Televisa Puerto Rico,
                                                                        Inc. in the magazine TV y Novelas, May 27, 2013 issue,
                                                                        was included as part of a news report about a public interest
                                                                        dispute.




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As they refer to the same judgment, both cases were                  must be real, not speculative or abstract. Any doubt is not
consolidated. We instructed the appellant parties to file their      enough to deny the request for summary judgment. In other
respective briefs in opposition within reduced time limits, to       words, it has to be of a nature that “allows the conclusion that
give expeditious attention to the recourse, and they did so. The     there is a real and substantial dispute over relevant and
other appellee parties, Telemundo de Puerto Rico, Inc., ES           pertinent facts.” Ramos Perez vs. Univisión de P.R., 178
Televisión Corp., Ms. Rivera, Mr. Fernández, Raad                    D.P.R. 200, 213–214 (2010), followed in Meléndez vs. M.
Broadcasting, Corp., Ms. Romero and Mr. Hernández, also              Cuebas, 2015 TSPR 70, on pgs. 9–10. See also Nieves Díaz vs.
appeared with separate allegations in opposition to recourse         González Massas, 178 D.P.R. 820, 848 (2010);
KLAN201600735.                                                       Commonwealth vs. Cole, 164 D.P.R. 608, 625 (2005).

With the benefit of these appearances, we proceed to review          *4 When issuing summary judgment, the judge must: (1)
the pertinent doctrinal framework.                                   analyze the documents that accompany the motion requesting
                                                                     summary judgment, those included with the motion in
In part II, we will address the standards of review that are         opposition and those that are in the judicial file and; (2)
imposed on this appellate court when we review a summary             determine whether the opponent disputed any material facts or
judgment, particularly when, as in this case, the revised            whether there are claims in the lawsuit that have not been
summary judgment deals with the issue of defamation. Then,           disputed or refuted in any way by the documents. That is why
in part III we will deal with the errors related to the action for   the doctrine establishes that the petitioner has to establish his
defamation, with emphasis on the canon of actual malice; and         right clearly. If there are doubts about the existence of a factual
in part IV, we will analyze the indications related to image         dispute, these must be resolved against the petitioner, since this
rights.                                                              procedural mechanism does not allow the court to resolve
                                                                     issues of credibility. Melendez vs. M. Cuebas, 2015 TSPR 70,
                               II                                    on pgs. 9–10. Also, Mgmt. Adm. Servs. Corp. vs.
                                                                     Commonwealth, 152 D.P.R. 599, 610 (2000); Cuadrado Lugo
                               -A-                                   vs. Santiago Rodríguez, 126 D.P.R. 272, 279–280 (1990);
                                                                     Corp. Presiding Bishop vs. Purcell, 117 D.P.R. 714, 720
Rule 36 of the Rules of Civil Procedure regulates the                (1986).
extraordinary and discretionary mechanism of the summary
judgment. 32 L.P.R.A. [Leyes de Puerto Rico Anotadas (Laws           Recently, the Supreme Court established the standard of
of Puerto Rico Annotated)], App. V, R. 36. The main purpose          review that this intermediate appellate court must use when
of this procedural mechanism is to promote the fair, rapid, and      reviewing denials or the granting of motions for summary
economic solution of civil litigation that does not present          judgment. It made it clear that this court’s appellate review in
genuine disputes of material facts, for which reason the             such cases is de novo. That means that we have to determine
plenary trial can be dispensed with. S.L.G. Zapata Rivera vs.        which facts are undisputed and which remain in dispute. In any
J.F. Montalvo, 189 D.P.R. [Decisiones de Puerto Rico                 event, in determining whether if it is appropriate to summarily
(Decisions of Puerto Rico)] 414, 430 (2013); Melendez vs. M.         deliver a judgment, we must use the same criteria as the courts
Cuebas, res. on May 21, 2015, 193 D.P.R. –––– (2015), 2015           of first instance. In this task, we can only consider the
TSPR [Tribunal Supremo de Puerto Rico (Puerto Rico                   documents that were presented before the court of first
Supreme Court)] 70, on pgs. 8–9.                                     instance and those that are in the file. We must also check that
                                                                     both the request for summary judgment and the opposition
The petitioner must file a motion based on affidavits or any         filed meet the formal requirements established in Rule 36 of
evidence that demonstrates the absence of a substantial dispute      Civil Procedure, already cited.
of relevant and pertinent facts about all or part of the claim. 32
L.P.R.A. App. V, R. 36.1. “A material (relevant) fact is one         Finally, we must review de novo whether the Court of First
that may affect the outcome of the claim in accordance with          Instance correctly applied the Law to legal disputes that
the applicable substantive law.” José A. Cuevas Segarra,             admitted disposition without holding a trial. Melendez vs. M.
Tratado de Derecho Procesal Civil [Civil Procedure Law               Cuebas, 2015 TSPR 70, on pgs. 20–21. Now, the High Court
Treaty], Volume III, 1041 (Pubs. J.T.S. [Jurisprudencia del          made it clear that the task of adjudicating the relevant and
Tribunal Supremo (Case law of the Supreme Court)] 2011).             essential facts still in dispute corresponds solely to the court of
The dispute over the essential facts that the litigation generates




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first instance in the exercise of its healthy discretion. Vera       that most likely could have caused the damage due to which
Morales vs. Bravo Colón, 161 D.P.R. 308, 334 (2004).                 the claim is made. The purpose of using proper cause as the
                                                                     guiding criterion in claiming compensation for damages is to
                               -B-                                   limit the chain of civil liability and to prevent it from being
                                                                     extended to absurd limits. See, Miranda vs. Commonwealth,
In Meléndez Vega vs. El Vocero, the Supreme Court also               137 D.P.R. 700, 707 (1994); Negron Garcia vs. Noriega Ortiz,
established the review standard that governs the appellate           117 D.P.R. 570, 575 (1984).
courts in defamation cases. To this end, it stated that the
appellate courts have the obligation to make “an independent         In order to establish the causal relationship between the
evaluation” of the specific elements that make up that cause of      defamatory action and the alleged damages, the plaintiff must
action, for which they must carefully examine the judicial           prove that the proper cause or producer of liability, that is, that
record. Meléndez Vega vs. El Vocero, 189 D.P.R. 123, 150             which most likely caused the claimed damages, was the
(2013).                                                              disclosure of the defamatory information by the defendant.
                                                                     Likewise, in these cases, it is necessary to determine whether
*5 The objective of this analysis is to verify that the sentencing   the defendant could foresee that the disclosure of the contested
court did not incur in a “forbidden intrusion in the field of        information would cause the type of damage alleged by the
freedom of expression” of the defendant, protected by the first      plaintiff. Colón, Ramírez vs. Televicentro de P.R., 175 D.P.R.
and fourteenth amendments of the federal Constitution and the        690, 707 (2009).
Bill of Rights of the Constitution of Puerto Rico. This
independent study, however, does not amount to a de novo             *6 With these introductory notes, let’s address the errors raised
review of the entire proof; it only refers to reviewing the          in recourse KLAN201600735, regarding the action for
portions of the file that are related to the elements of proof       defamation and the defense of actual malice.
required for each particular case. Id., on pg. 151. Likewise,
the appellate court will defer to the credibility determinations                                    III
of the witnesses made by the judge in the first instance, unless
they are clearly erroneous. Id., on pgs. 152–154.                                                   -A-

Finally, for the defamation action to succeed, the plaintiff is      Section 8 of Article II of the Constitution of the
required to show that the action imputed to the defendant            Commonwealth provides that “[e]very person has the right to
caused real damages. The concept of damage has been defined          the protection of the law against abusive attacks on his honor,
as “the prejudice that a person suffers as a result of a specific    his reputation, and his private or family life.” Const. P.R., Art.
occurrence or event, whether in their vital natural goods, or in     II, § 8. This constitutional guarantee advocates the right to
their property or assets.” Galib Frangie vs. El Vocero, 138          privacy of every natural person, which operates ex proprio
D.P.R. 560, 571 (1995). 17 It also refers to “the unfavorable        vigore between private persons. Castro vs. Tiendas Pitusa, 159
behavior of the circumstances that, as a result of a specific        D.P.R. 650, 658 (2003). This means that any individual can
event, occurs against the will of a person and that affects the      assert the right to privacy against individuals, without having
legal assets that belong to him (personality, freedom, honor,        to mediate a state action to invoke it. Siaca vs. Bahia Beach
assets).” Id. Of course, ordinarily, in lawsuits such as this one,   Resort, 2016 TSPR 11, 194 D.P.R.––––, on pg. 35. The
the person harmed by the defamatory action is usually                aggrieved party only has to file a lawsuit for damages and
compensated for the injury caused to his reputation and              demand in court both the immediate cessation of any violation
relationships in the community and for other damages                 of their right to privacy, as well as compensation for the
resulting from said action, such as moral damages and mental         damage caused. Id., pg. 31.
anguish. Id. on pg. 571–572.
                                                                     The aforementioned constitutional provision, then, protects a
On the other hand, in these cases, we cannot ignore another          citizen against defamation, which has been defined as the
essential aspect of this type of civil action. In matters of non-    discrediting of a person by publishing “things against his
contractual liability, in Puerto Rico, the theory of adequate        reputation,” which includes the modalities of libel and slander.
causality governs. According to this, the adequate cause is the      Pérez Rosado vs. El Vocero, 149 D.P.R. 427, 441 (1999).
one that ordinarily produces the imputed damages, according
to general experience. It is nothing other than the event or act




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Protection against defamatory expressions has its origin in the      Negligence or the degree of fault required to impute liability
Law of February 19, 1902, which established the action for           for defamation has been defined as “the lack of due care, which
libel and slander. 32 L.P.R.A. § 3141, et seq.18 However, as         in turn consists of not anticipating and foreseeing the rational
anticipated, Article 1802 of the Civil Code of Puerto Rico “is       consequences of an act, or the omission of an act, which a
the source of civil protection against defamatory attacks in our     prudent person would have to foresee under the same
jurisdiction.” 31 L.P.R.A. § 5141; Colon, Ramirez vs.                circumstances.” Colon, Ramirez vs. Televicentro de P.R., 175
Televicentro de P.R., 175 D.P.R., on pg. 712.                        D.P.R., on pgs. 706–707; Ramos vs. Carlo, 85 D.P.R. 353, 358
                                                                     (1962).
It should be noted, however, that the action that seeks to defend
a person’s right to privacy, ordinarily, is opposed to the           The criteria for determining whether the defendant engaged in
exercise of the fundamental rights of freedom of expression or       negligent conduct are: (1) the nature of the information
freedom of the press, also recognized with equal prominence          published and the importance of the matter it deals with,
in Section 4 of Article II of the Constitution of Puerto Rico:       especially if the information is libelous on its face; (2) the
“No law will be passed that restricts freedom of speech or the       origin of the information and the reliability of its source; (3)
press or the right of the people to meet in peaceful assembly        the reasonableness of the verification of the veracity of the
and to ask the government to redress grievances.”                    information obtained, whose determination is carried out by
                                                                     considering the cost in terms of money, the personnel
This confrontation has generated the development of different        involved, the urgency of the publication, the nature of the
standards and criteria to manage the balance of conflicting          news, and any other pertinent factor. However, it should be
interests in this type of action, according to the people involved   considered, as the guiding criterion in these cases, whether
or the aggrieved interests. See Porto and Siurano vs. Bentley        “the defendant could foresee that his action or omission could
P.R. Inc., 132 D.P.R. 331, 343 (1992); Mendez Arrocho vs. El         cause some damage.” Colon, Ramirez vs. Televicentro de P.R.,
Vocero de P.R., 130 D.P.R. 867, 876 (1992).                          175 D.P.R., on pg. 707.

Let us analyze these standards and criteria separately: first,       On the other hand, when the plaintiff is a public figure, the
those that refer to the parties involved, then, those related to     evidentiary standard to prevail in a defamation action is much
the information and its public handling by the defendant.            more onerous. 19 As in the case of a private person, a public
                                                                     figure has to prove the falsity of the information and the
                               -B-                                   damages suffered. However, instead of negligence, it is
                                                                     necessary to show that the defendant acted with actual malice,
*7 The constituent elements of the cause of action for               i.e. knowing that what was said about the plaintiff was false or
defamation will depend, in the first place, on whether the           with gross disregard for the truth.Garib Bazain vs. Clavell,
plaintiff is a private person or a public figure. When they are a    135 D.P.R. 475 (1994); Méndez Arocho vs. El Vocero, 130
private person, it is necessary for them to allege and prove         D.P.R. 867, 878 (1992), which follow the doctrine established
three essential requirements for their claim for damages for         in New York Times vs. Sullivan, 376 U.S. 254, 280, 84 S.Ct.
defamation to succeed: (1) that the information is defamatory        710, 11 L.Ed.2d 686 (1964). 20
and false; (2) that the publication was made negligently, and
(3) that they suffered actual harm from such representations.        Regarding this case, the parties stipulated that, since Mr. Ayala
Perez Rosado vs. El Vocero de Puerto Rico, 149 D.P.R., on pg.        Otero was a municipal police officer, the criterion of actual
442; Villanueva vs. Hernández Class, 128 D.P.R. 618, 642             malice was applied to the defendants. And it was so because
(1991).                                                              the Supreme Court of Puerto Rico expressly resolved in the
                                                                     case Soc. de Gananciales vs. López, 116 D.P.R. 112, 116
                                                                     (1985), that agents of public order or “policemen,” are
                                                                     considered public officials for the purposes of applying the
                                                                     doctrine of actual malice to them. In this case, the Supreme
                                                                     Court, through the voice of the Presiding Judge Trías Monge,
                                                                     stated:




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           *8 The reputation of police officers, as                   Bazain vs. Clavell, 135 D.P.R., on pg. 483; Melendez Vega vs.
           well as that of other public officials and                 El Vocero, 189 D.P.R., on pg. 148, approvingly citing Harte–
           employees, is not at the mercy of any                      Hanks Communications vs. Connaughton, 491 US 657, 667–
           kind of attack, more so in the present                     668, 109 S.Ct. 2678, 105 L.Ed.2d 562 (1988). 21
           circumstances, the interest in the free
           flow of information about the conduct of                                                 -C-
           an employee of such critical importance
           to the public welfare clearly prevails,                    In the indispensable exercise of harmonizing the fundamental
           over other considerations, with the brake                  rights confronted in an action for defamation, especially
           that represents the doctrine of actual                     against the media or “the press,” different theories or defenses
           malice.                                                    have been developed to protect and justify the expression that
                                                                      may cause any person injury, discomfort, or embarrassment.
                                                                      See Álvarez González, Op. Cit., on pgs. 996–1034. And this
Id., 116 D.P.R., on pg. 116. See also Maldonado vs. Marrero           judicial dynamic, known as the “categorical method,” based
Padilla, 121 D.P.R. 705, 714 (1988).                                  on rules or doctrines that predetermine the criteria that the
                                                                      judge must consider in resolving a case, has been justified as
Now, actual malice is never presumed. Garib Bazain vs.                follows:
Clavell, 135 D.P.R. on pg. 484. Furthermore, “even proof of
ill will or hatred does not by itself satisfy the constitutionally       *9 The categorical method prevails in the arena of
required degree of the proof of malice.” Id., on pgs. 484–485;           defamation. This is stated, for example, by the Supreme
Garcia Cruz vs. El Mundo, Inc., 108 D.P.R. 174, 181 (1978).              Court of the United States in several of its core opinions.
Likewise, serious disregard is not measured by what a prudent            Certainly, said court has opined that the development of
and reasonable man would have published or investigated; it              some concepts, such as serious disregard for the truth, can
has to be shown that the defendant had serious doubts about              only be achieved on a case-by-case basis. But its goal has
the accuracy of the allegedly defamatory information. Garib              been to elucidate the content of legal concepts, since this
Bazain vs. Clavell, 135 D.P.R. on pg. 485.                               search is particularly important in the field of freedom
                                                                         of expression, given that, “[u]ncertainty as to the scope
The standard of proof in these cases is more rigorous than the           of the constitutional protection can only dissuade
preponderance of the proof; clear, robust, and convincing                protected speech—the more elusive the standard, the
evidence is required. Meléndez Vega vs. El Vocero, 189                   less protection it affords.” A careful review of our modern
D.P.R., on pg. 149. Although there is no exact definition, clear,        defamation jurisprudence also reveals that the prevailing
robust and convincing proof has been described as “[proof]               trend has been to seek rule making rather than ad hoc
that produces, in an adjudicator of facts, a lasting conviction          adjudication.
that factual contentions are highly probable.” In re Ruiz
Rivera, 168 D.P.R. 246, 253 (2006). This is evidence that is             [ ... ]
stronger than a preponderance of the proof, but weaker than
proof beyond a reasonable doubt; In re Rodríguez Mercado,                In addition to the broad legal authority that supports it, the
165 D.P.R. 630, 641 (2005).                                              categorical method turns out to be the most appropriate,
                                                                         especially in the case of expressions about the management
Anyway, from New York Times Co. vs. Sullivan, a public                   of a public official. The close link between democracy and
official can only sue for defamation if he proves the                    deliberation demands no less. We must remember that
defendant’s “actual malice” in making the defamatory                     one of the main purposes of the regulations in this field
allegations, by direct or circumstantial proof. The rationale for        is to avoid the dissuasive effect that the law could have
this criterion is that the public figure’s right to privacy “weighs      on free expression in matters of public interest. This
less” than the right of other citizens to free expression, unless        requires, among other things, that citizens have a
the expressing parties are shown to have actual malice. José             reasonable degree of certainty regarding the meaning of the
Julián Álvarez González, Derecho Constitucional de Puerto                relevant legal concepts, as well as their procedural
Rico y relaciones constitucionales con los Estados Unidos                consequences. The infinite casuistic relaxation of concepts,
1004 [Constitutional Law of Puerto Rico and constitutional               the transmutation of the actually malicious person into a
relations with the United States 1004] (Temis 2009); Garib




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   kind of prudent and reasonable person, adds little to this         Inc., 106 D.P.R. on pg. 436; Oliveras vs. Paniagua Diez, 115
   certainty.                                                         D.P.R. 257, 268 (1984).

See the agreeing opinion issued by associate judge Rodríguez          In Bosch vs. Editorial el Imparcial, Inc., 87 D.P.R. 285, 309
Rodríguez, joined by presiding judge, Mr. Hernández Denton            (1964), the Supreme Court of Puerto Rico stated, regarding the
in Cabrero vs. Zayas, 167 D.P.R. 766, 769–792 (2006).                 case in which a person makes some inference about particular
(Quotes omitted).                                                     facts, that a comment may be harsh and scathing without
                                                                      constituting defamation “provided it is based on facts or such
For example, based on this categorical approach, the Supreme          inferences from facts as, in the judgment of a reasonable
Court of Puerto Rico adopted the doctrines of “opinion” and           person, constitutes a fair assessment of a situation.” 22
“rhetorical hyperbole” as defenses in cases in which the right
to freedom of expression and press are proposed in Garib              In short, the inferences or conclusions that a person may reach
Bazain vs. Clavell, 135 D.P.R., on pgs. 489–490. It defined the       about matters of high public interest or regarding the actions
first as an expression on issues of public interest that does not     of a public official, even when it is proven that they were made
contain a factual connotation that is likely to be proven false.      with will or hatred, are not sufficient to constitute actual malice
That is, expressions that cannot be reasonably interpreted as         as evidence in this case. Garib Bazain vs. Clavell, 135 D.P.R.
expressing real facts are protected. Id. “Rhetorical hyperbole”       on pgs. 484–485; Garcia Cruz vs. El Mundo, Inc., 108 D.P.R.
constitutes an expression that is allegedly defamatory, but that      174, 181 (1978). And this doctrine has a clear purpose: the
is not actionable if it is used in a figurative, flexible sense and   defense of the free flow of ideas that nourishes the democratic
not necessarily for its literal meaning. Id., pgs. 485–486.           system in a free society. 23

The “fair and true report” and “impartial comment” doctrines          In short, when a person makes inferences based on information
were also adopted in Villanueva vs. Hernández, 128 D.P.R.             that is in their hands, both the true and the incorrect
618 (1991); and in Porto and Siurano vs. Bentley PR Inc., 132         information is protected, if they are matters of public interest,
D.P.R. 331 (1992), upheld the conditional immunity doctrine           since erroneous expressions are an inevitable part of the
on “business communications” in the labor context.                    discussion of such matters. Oliveras vs. Paniagua Diez, 115
                                                                      D.P.R. on pg. 268; Garib Bazain vs. Clavell, 135 D.P.R. on pg.
*10 The doctrinal framework that interests us on this occasion        485.
is that of “logical and reasonable inference,” expressed under
the protection of the exercise of freedom of expression and in        Let’s apply these rules to the indications of recourse
the context of the discussion generated around matters of             KLAN201600735.
public interest. Let’s look at its foundations.
                                                                                                     -D-
Regarding the extension of the right to freedom of expression
or speech, the need and importance of “robust and open debate         *11 When evaluating the relevant proof of the present case, we
on public affairs” has been reiterated, which can “include            not only have to examine de novo the motions for summary
vehement, caustic, and sometimes unpleasantly cutting                 judgment and their respective oppositions, as established in the
attacks.” Garib Bazain vs. Clavell,135 D.P.R. on pg. 485;             case of Melendez vs. M. Cuebas, ante, we also have to apply
Sociedad Legal de Gananciales vs. López [Community                    the review standard for defamation cases stated in Meléndez
Ownership of Property vs. López], 116 D.P.R., on pg. 115.             Vega vs. El Vocero, already cited. And this is so, because the
Furthermore, freedom of expression has been equated with              determination that there was “actual malice with convincing
freedom of the press, so that both true and incorrect                 clarity” is “a constitutional fact” that imposes an independent
information regarding matters of public interest are protected,       judicial review by the appellate court. Bose Corp. vs.
since erroneous expressions are an inevitable part of the             Consumers Union of United States, Inc., 466 US 485, 499, 104
discussion of public issues. This interpretation serves the           S.Ct. 1949, 80 L.Ed.2d 502 (1984); C. Thomas Dienes,
purpose of “maintaining an open climate for the frank and             Appellate Review of Actual Malice, 10 Comm. Law. 3 (1992–
vigorous discussion of matters of public interest and of the          1993). 24
conduct and performance of public officials.” Garib Bazain vs.
Clavell, 135 D.P.R. on pg. 485; Torres Silva vs. El Mundo,




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Of course, we cannot rule out the findings of fact of the court   *12 In its analysis, the court of first instance gave weight to
appealed against and conclusions of law if they find support in   the fact that, at the time the disputed expressions were
the proof that both courts have examined. To see if it is         published, Mr. Rivera Nieves had filed the two
appropriate to accept such determinations and conclusions as      aforementioned complaints against Mr. Ayala Otero, one
correct, a brief summary of the facts that the Court of First     administrative before the Municipal Police and another
Instance considered proven is necessary.                          criminal before the Puerto Rico Police, which were in the
                                                                  process of investigation. It stated that, even if they had tried, it
                              -i-                                 was very unlikely that the defendant media would have access
                                                                  to the file of the administrative investigation or the
In the appealed judgment, after determining that Mr. Ayala        prosecutor’s summary. In fact, it determined that “[it] was not
Otero, as a municipal police officer, had to be considered a      until July 5, 2013 that the prosecution instructed the Puerto
public official, for the purposes of applying the scrutiny of     Rico Police not to file criminal charges against Ayala Otero.”
actual malice to the people and the media sued for defamation,    For this reason, the court a quo concluded that Mr. Ayala Otero
the court a quo concluded that, in his motion for summary         did not provide proof that would allow him to determine what
judgment, Mr. Ayala Otero did not present admissible proof        other information the defendants could have obtained, when
that met that evidentiary standard. Although Mr. Ayala Otero      they became aware of the information, which would deny the
presented documents to show that the administrative and           allegations of Mr. Rivera Nieves.
criminal complaints filed against him by Mr. Rivera Nieves
were unsuccessful, which, in his opinion, was proof of the        Finally, after assessing the proof presented by the parties in
falsity of what was published, the court concluded that the       their respective motions for summary judgment, the Court of
defendants refuted his argument that they did not corroborate     First Instance ruled that Mr. Ayala Otero did not demonstrate
the veracity of the information and that they published it with   that the defendant communications media acted with actual
a clear disregard for the truth.                                  malice by publishing the interviews they conducted with Mr.
                                                                  Rivera Nieves. The court a quo clarified that, even if it
The judge reasoned that the only person with whom the media       considered Mr. Ayala Otero a private person, he also did not
could corroborate the allegedly slanderous statements was         demonstrate that the defendant media acted negligently when
with Mr. Ayala Otero himself, since there were no                 processing and disclosing information that was of public
eyewitnesses, and he was not available to do so. It determined    interest.
as a proven fact that Mr. Matos Figueroa tried to communicate
with Mr. Ayala Otero, to listen to his version, but he was not                                    -ii-
at work, so he left a message that was not answered. The
journalist also unsuccessfully tried to receive a response from   Before discharging our reviewing responsibility, through the
the investigators of the administrative case, who confirmed the   examination de novo of the documents that are in the file, we
existence of the process, but never responded to his requests     want to make an important point as an introduction to that
for information. After the broadcast of the interview with Mr.    analysis. Mr. Ayala Otero points out in his appeal that the
Rivera Nieves, Mr. Fernández Rivera offered Mr. Ayala to          originator of the information is equally responsible for
contact the Dando Candela program, but he did not do so           defamation, if it is false, as is the media outlet that repeats or
either.                                                           discloses it without prior corroboration, with clear disregard
                                                                  for the truth. However, appellant Ayala Otero forgets that, by
                                                                  applying the canon of actual malice, the defendant will not be
                                                                  liable for defamation, even if the information is false, if the
                                                                  specific case goes through the crucible of indicated categorical
                                                                  method, that is, if there prevails in the outlined defenses: the
                                                                  “fair and true report,” the “impartial comment,” the “business
                                                                  communications” in the labor context, the “logical and
                                                                  reasonable inference,” among others that we have mentioned
                                                                  above. Whether what Mr. Rivera Nieves said was true or not,
                                                                  is not something that should weigh on the analysis regarding
                                                                  the media outlets sued in this case. What matters in this
                                                                  scrutiny is whether the information was of public interest and




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whether it was published in accordance with the canons               In evaluating the content of the post, to see if it denotes actual
described, after submitting the question to the indicated            malice that imposes liability, we highlight the following. The
“categorical method.”                                                article is preceded by the following paragraph:

*13 With that caveat, as an appellate court, we conclude that           Drowning in tears, the Arecibo line guard Eduardo Rivera
the proof presented by both parties, together with the motions          Nieves, 47 years old, spoke for the first time of the
for summary judgment and their respective oppositions,                  horrendous nightmare that, presumably, he was part of with
support the factual determinations of the sentencing court, as          the Gurabo Municipal Police officer, Samuel Ayala Otero.
well as the conclusions of right that cleared the defendants ES
Televisión Corp., Telemundo Of Puerto Rico Inc., Leo                    Then follows the list of questions and answers:
Fernández III, Saudy Rivera, Raad Broadcasting Corp,
Diosdada Romero, Tomás Ramos, t/c/c Red Shadow, Editorial               *14 Eduardo, what do you want to denounce publicly?
Televisa–Puerto Rico, h/n/c Revista TV y Novelas of Puerto
Rico, Omar Matos Figueroa, and William Venegas Guzmán of                A sexual assault by a municipal police officer from the
liability for defamation.                                               Gurabo area by the name of Samuel Ayala Otero and
                                                                        whose badge is 28XX.
In endorsing the findings of fact of the court appealed against,
we confirm that Mr. Ayala Otero did not prove that these                What kind of relationship do you have with him?
defendants acted with “actual malice” or serious disregard for
the truth, because they harbored serious doubts about the               We had a relationship as a couple for about six months...
veracity of what was reported by Mr. Rivera Nieves, that is, on         We left each other four months ago (on January 3, 2013).
the facts that generate the demand.
                                                                        How did you meet him?
Regarding Editorial Televisa–Puerto Rico, Omar Matos
                                                                        Through Facebook; he was the one who contacted me...
Figueroa, and William Venegas Guzmán, we highlight that
                                                                        Throughout the romantic relationship, I discovered,
they were the first to disclose the information in question and
                                                                        through calls and text messages, that there was a third
they did so in writing. Hundreds of pages of depositions are in
                                                                        person... He was unfaithful to me with a Capitol employee.
the records in which it is explained under oath how Mr. Matos
Figueroa learned the information directly from Mr. Rivera
                                                                        What was that relationship like?
Nieves, an actor in the human drama that they reported in the
magazine for which the former works. It is also explained that          Those five months were the worst of my life, because I
his superiors decided to publish this material, because it was          received a lot of emotional abuse as a result of his infidelity
of social interest, due to involving a public official. It is also      with different people.
explained that steps were taken to corroborate the information
with Mr. Ayala Otero himself, but he was not available to give          [ ... ]
his version of the events. Mr. Matos Figueroa testified that he
took steps to obtain information on the complaints filed against        Why were you still with him?
Mr. Ayala Otero, without success.
                                                                        Maybe because I felt alone or because I thought that he was
There are copies of the complaints, of the investigation reports        going to change... However, he threatened to kill me. Told
and their findings, of the results of judicial processes in the         me: ‘In my gun and in my belt, there is a bullet with your
records, which show that there was some reliability to the              name on it...’ I was afraid of him.
original story. Of course, these are documents and processes
that are confidential at an early stage, so the press would not         How was the sex life between you?
necessarily have timely access to them. Although the
complaints were later dismissed, the truth is that this                 It was normal... But he was escalating sharply in his sexual
information was not available when the editorial or executive           attitude towards me... After each sexual intercourse, he
decision to publish or disclose it was made.                            behaved more abruptly or aggressively... On several
                                                                        occasions, in the middle of his work shift, we had sex...
                                                                        Once we were together in the same patrol car (in the




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   afternoon and near the Gurabo city hall). It was a fantasy       is that there was information in that story that could be of
   come true for him.                                               genuine public interest. As we have already pointed out, the
                                                                    defenses of “fair and true report,” “impartial comment,” or
   [ ... ]                                                          “logical and reasonable inference,” on matters of high public
                                                                    interest or on the actions of a public official, serve as a shield
   What exactly is your complaint?                                  in this case to the imputation of actual malice or clear disregard
                                                                    for the truth regarding Editorial Televisa, Omar Matos
   He sexually assaulted me on January 3, 2013... My having         Figueroa, and William Venegas Guzmán. It is appropriate to
   sex with him was not consented to by me.                         confirm the judgment appealed regarding the dismissal of the
                                                                    action for defamation against these defendant parties.
   [ ... ]
                                                                                                  -iii-
   Where and how did the rape you speak of occur?
                                                                    *15 Let’s analyze the proof involving the other defendants.
   In a motel in Caguas, where he tricked me into going,
   supposedly to talk about us and dressed as a police officer...   From the documentary proof that we have carefully evaluated,
   He sodomized me at about 11:30 at night, approximately...        it appears that ES Televisión Corp., Telemundo Of Puerto Rico
   There he grabbed me by the arms. I was face down and             Inc., Leo Fernández III, Saudy Rivera, Raad Broadcasting
   almost suffocating with the pillow, he lowered my                Corp, Diosdada Romero, Tomás Ramos, t/c/c Red Shadow
   underpants, he raised my arms completely and, finally, he        expressly informed the public that they only repeated what had
   penetrated me without a condom... He didn’t let me go until      already been published in TV y Novelas, and was newsworthy
   the act was over... I bled a lot!                                for viewers and radio listeners.

   [ ... ]                                                          We transcribed some segments of the program Dando candela,
                                                                    in order to demonstrate that what was broadcast was already
   Do you have any lawsuit against him?                             news, that is, it turned out to be a repetition of the article
                                                                    published in TV y Novelas:
   There are some administrative complaints filed in the
   Municipal Barracks of Gurabo and the filing of the case             MS. SAUDY RIVERA: There is a situation happening
   for sexual assault is still pending in the Court of Caguas.         right now, gentlemen, it’s a love triangle. You’re really
                                                                       listening to me, right? A love triangle between a police
Our emphasis. Revista TV y Novelas, App. of the case
                                                                       officer, an Electric Power guard, and an employee of the
KLAN201600573, pgs. 673–675.
                                                                       Capitol.
From the analysis of the content of the article and of the
                                                                       [ ... ]
manner in which the allegedly defamatory information was
disclosed, we agree with the Court of First Instance that they         [Change of camera shots.]
do not reveal actual malice and a clear disregard for the truth.
There are important behavioral elements that protect the               MR. LEO FERNANDEZ: You are going through a very
freedom of speech or press of these defendant parties. On the          difficult situation, because in your life, you had a
one hand, Mr. Rivera Nieves went to the media to “denounce”            relationship that did not end well.
the behavior or “aggression” to which he was allegedly
subjected by a public official, which puts on Mr. Rivera Nieves        MR. EDUARDO RIVERA NIEVES: That’s right. That’s
the weight of having generated the information and of making           right, a... with another person of the same sex.
it available to the media. The published material followed the
format of questions and answers, that is, Mr. Rivera Nieves, as        MR. LEO FERNANDEZ: In that... In that type of
the complainant, answered what the journalist wanted to                relationship, were you dating a police officer, a municipal
emphasize in the story that he started. Mr. Rivera Nieves              police officer?
admitted that he was the one who contacted Mr. Matos
Figueroa to tell him the story. Although there are elements in
the story that could “feed the fascination” of people, the truth



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   MR. EDUARDO RIVERA NIEVES: That’s right, a                        MR. EDUARDO RIVERA NIEVES: No, parked in one
   municipal police officer from the Gurabo area.                    spot.

   MR. LEO FERNANDEZ: And was it a love relationship?                MR. LEO FERNANDEZ: In that spot, of that municipal
                                                                     building, did you meet to see each other in a more private
   MR. EDUARDO RIVERA NIEVES: That’s right.                          place?

   MR. LEO FERNANDEZ: How did you meet each other?                   MR. EDUARDO RIVERA NIEVES: That’s right. I, I
                                                                     mean, I was kind of uncomfortable and I wanted to talk to
   MR. EDUARDO RIVERA NIEVES: We met through                         him (unintelligible). “No, we’re going to the same place as
   communications on Facebook.                                       always,” well, I agreed. We went to the motel. When we
                                                                     got there, I sat him down and told him: “Look, I have to
   MR. LEO FERNANDEZ: You guys had an incident at a                  talk to you. I didn’t like the way you acted today and tried
   motel, too.                                                       to forcefully grab me by the arm, and you know I don’t like
                                                                     those things.” He got upset: “Oh, I don’t want to talk about
   MR. EDUARDO RIVERA NIEVES: That’s right. That’s                   that, I came here for other things.” He came and fucked,
   the worst part, the bitter pill, which, please will excuse me     and lay down. He said: “Oh, I’m going to go to lie down
   if it makes me emotional, because, to all this, he is using       and sleep.” He fucked and lay down to sleep in bed, and I
   all... all his... contacts, all the people he has around him to   was a little annoyed with all this, I went and took a bath, I
   manipulate, to gain stalking orders against me. In all this, I    lay down next to him. I have sleep apnea and, um, I lay on
   have been the victim. He was watching in a building, in a         my stomach in my boxers. When I fall sound asleep, he
   building, this... municipal [sic] and I asked him if he would     jumps on me with his service weapon, he throws the
   let me go to the bathroom, because he was watching that           service weapon on the table next to him, on the side table,
   place. When I go into the bathroom, I try to go into the          for me to see.
   bathroom, he... he takes me to the bathroom, I go in with
   him, he tells me: “Well, the urinals are there.” When I’m         MR. LEO FERNANDEZ: To intimidate you.
   there, he tries to get me to do something with him in there,
   he pulls down my pants and tries to struggle with me, and         MR. EDUARDO RIVERA NIEVES: That’s what I
   I... I quickly got out of the bathroom and I left. I told him:    understand. Yes, I feared for my life at that moment. He
   “No, you can’t do that there. No, take it easy. We’ll go to a     presses my head against the pillow, as if he were to
   place and... and, well, to a place where we can have              suffocate me, he gets up on my back, as you can see right
   privacy.”                                                         now, I have... I had disc surgery, that’s a... a condition that
                                                                     I have had for years after a fall.
   *16 MR. LEO FERNANDEZ: Before, had you been
   intimate?                                                         MR. LEO FERNANDEZ: And he... and he knew that?

   MR. EDUARDO RIVERA NIEVES: Correct, yes.                          MR. EDUARDO RIVERA NIEVES: And he knew that.
                                                                     And he grabs me by the arms, very firmly, and there, he...
   MR. LEO FERNANDEZ: In public places, in motels?
                                                                     MR. LEO FERNANDEZ: Does he penetrate you, sodo...
   MR. EDUARDO RIVERA NIEVES: No, negative. In                       sodomize you?
   public places, yes, it happened in a patrol car, too.
                                                                     MR. EDUARDO RIVERA NIEVES: Correct. He
   MR. LEO FERNANDEZ: I mean, did you make love to                   threatened to kill me, too. He said that, in his belt and in his
   him in a patrol car?                                              revolver, he had a bullet with my name on it.

   MR. EDUARDO RIVERA NIEVES: There was oral sex                     MR. LEO FERNANDEZ: Eduardo, Samuel must be
   in a patrol car.                                                  watching you on television, what do you say to him?

   MR. LEO FERNANDEZ: Was he driving or was he parked                MR. EDUARDO RIVERA NIEVES: I tell Samuel, I know
   somewhere?                                                        that there is a... stalking order, but he knows what



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   happened, and if you have any heart, and you feel as macho      Our emphasis. Dando candela,            App.    of   the   case
   as you say you are, speak the truth and tell the truth, and     KLAN201600573, pgs. 664–671.
   don’t make me suffer anymore. Tell us what happened and
   don’t keep hiding behind your friends, and behind the           On the radio program El relajo matutino, enlivened by Mr.
   people who protect you, because they are that, and only         Ramos and Mrs. Romero, Mr. Matos Figueroa, and Mr. Rivera
   God knows.                                                      Nieves, from the Capitol, joined the broadcast. As happened in
                                                                   Dando candela, the radio journalists interviewed Mr. Rivera
   Maybe you could escape the... the justice of men, but           Nieves, who answered questions related to the same
   God’s, you know that you’re not going to escape, and you        allegations that he narrated for the written publication. They
   know that this really happened, and I attest to that, and God   read the text messages and, as in the publication, the latter
   is my only witness. *17 MR. LEO FERNANDEZ: Have                 alluded to two suicide attempts, after the alleged sexual
   you tried to take your life?                                    assault. The name of Mr. Ayala Otero was mentioned on the
                                                                   air, as well as the fact that he was a municipal police officer
   MR. EDUARDO RIVERA NIEVES: On two occasions.                    from Gurabo. At the end of the broadcast, Mr. Matos Figueroa
                                                                   invited the appellant here, Ayala Otero, to communicate with
   MR. LEO FERNANDEZ: We are going to try to get help              him to make any statement about what was disclosed there.
   for our friend Eduardo. Of course, Samuel also gets a
   chance to tell his side of this. We have been very careful      Note that, in addition to noting that this material was already
   in how we deal with the issue and we thank Eduardo, his         known, due to its previous publication in the magazine TV y
   family, his mother is here, who have trusted Omar,              Novelas, both the program Dando candela and El relajo
   “Deddie” and “Red,” who also worked on the matter, and          matutino lent their airwaves to repeat the story that Mr. Rivera
   Dando Candela. We continue.                                     Nieves took to the magazine. Nor has Mr. Ayala Otero shown
                                                                   that these media outlets and their representatives acted with
   MS. SAUDY RIVERA: Look, my brother, just for you to             actual malice, that is, with a clear disregard for the truth
   see, appearances are deceiving. A big, handsome man,            because they harbored serious doubts about the veracity of the
   going through a difficult situation with a man, look, a         information provided by Mr. Rivera Nieves and still disclosed
   person of the same sex, who alleges he raped him, being a       it. Public interest had already been generated in what was
   police officer and using, look, his regulation weapon.          reproduced in this way, since it was about the questionable
   Listen, that cries before the eyes of God.                      behavior of a public official on the premises he was in charge
                                                                   of or on State property, such as the patrol car assigned to him.
   MR. FERNAN VELEZ: And I’m told that this gentleman
   who spoke on camera is allegedly in fear for his life. So try   *18 We resolve that it is appropriate to confirm the appealed
   to imagine. [ ... ]                                             summary judgment that dismissed the defamation action
                                                                   brought against the defendants ES Televisión Corp.,
   MR. FERNAN VELEZ: Well, this... this story came out in          Telemundo Of Puerto Rico Inc., Leo Fernández III, Saudy
   the most recent edition of Revista TV y Novelas Puerto          Rivera, Raad Broadcasting Corp, Diosdada Romero, and
   Rico.                                                           Tomás Ramos, t/c/c Red Shadow.

   MS. SAUDY RIVERA: We cleared that up, right.                                                  IV

   MR. FERNAN VELEZ: Obviously, we are giving here the             Let us now address the issues raised in the recourse
   scoop on television so that you could find out and hear         KLA201600763 on the cause of action for violation of the
   these gentlemen talking with their own mouths, in this          right to one’s own image.
   case, that I speak here on camera, okay?
                                                                                                 -A-
   MS. SAUDY RIVERA: And to this man, who is asking for
   help, gentlemen. Our cameras are for everyone who               The Court of First Instance understood that Mr. Ayala Otero’s
   definitely needs it, gentlemen.                                 lawsuit contains allegations that could constitute a claim that
                                                                   justifies the granting of a remedy provided by Law No. 139–
   [SEGMENT END]                                                   2011. Regarding this claim, it resolved:




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   [ ... ] However, regarding Editorial Televisa Puerto Rico,        of Vigoreaux Lorenzana vs. Quizno’s the Supreme Court of
   Inc., Omar Matos Figueroa, and William Venegas, this              Puerto Rico, reiterated that the right to one’s own image is an
   Partial Judgment does not dispose of all the claims filed         aspect of the right to privacy. Regarding this detail, it stated:
   against them. Note that, in paragraph 30 of his Amended
   Lawsuit of September 10, 2014, Ayala Otero maintains that                      By virtue of this right, any person may
   Editorial Televisa Puerto Rico, Inc., Omar Matos Figueroa,                     oppose the reproduction of their effigy
   and William Venegas published photos of “his image                             or the obtaining of photographic proof
   without his consent and in order to sell more magazines”;                      thereof, by persons to whom they have
   this in violation of his right to his own image recognized                     not granted express or tacit
   by Law Number 139 of July 13, 2011. The parties have not                       authorization [ ... ]. The authorization
   put this Court in a position to adjudicate, through the                        to take a photograph does not include
   summary judgment mechanism, said cause of action.                              the authorization to publish it, since
                                                                                  the publication affects the personality
The appellants in this recourse argue that the Court of First                     of the interested party more intensely
Instance erred “by not dismissing the cause of action for                         than the simple fact of photographing
violation of the right to one’s own image, as recognized by                       him. The authorization to be
Law 139 of 2011” and “[by not] determining that the image                         published may           include    some
published by Editorial Televisa Puerto Rico, Inc. in Revista                      limitation whose scope will be
TV y Novelas, edition of May 27, 2013, was included as part                       determined      according       to   the
of a news report on a dispute of public interest.” Consequently,                  interpretation of the specific case.
they also argue that the sentencing court erred in concluding
that “they had not put him in a position to adjudicate, through      Vigoreaux Lorenzana vs. Quizno’s, 173 D.P.R., on pg. 264,
the summary judgment mechanism, the cause of action for the          citing J. Santos Briz, El derecho de daños [The law of
violation of the right to one’s own image, as recognized by          damages] 178–179 (Ed. Revs. Der Privs. 1963).
Law 139 of 2011.”
                                                                     In turn, the same opinion recognized the existence of several
Let us address both points together.                                 defenses against this cause of action, noting that there is
                                                                     considered admissible, without prejudice to other justification,
                               -B-                                   the publication or taking of photographs in the area called
                                                                     “contemporary history,” not referring to private life, or when
The right to one’s own image is an issue that is under               they reproduce meetings, demonstrations, or other similar
development in the Puerto Rican legal system. Until Vigoreaux        public acts or public events or locations in which the person
Lorenzana vs. Quizno’s Sub, the only careful consideration of        photographed is an accessory figure. Vigoreaux Lorenzana vs.
the constitutional protection of commercial expression in            Quizno’s Sub, 173 D.P.R., on pg. 264. In addition, in such
Puerto Rico had been given in the context of attorneys’              pronouncements, the Supreme Court concluded that the
advertisements. Álvarez González, Op, Cit., on pg. 1052.             publication of photographs taken without the request of the
However, through case law, in Puerto Rico, it was established        interested party is allowed when justified by a public interest
as a customary law that every person can control where, when,        or a serious artistic interest, or when the constitutional right to
and how a photograph is taken or their image is reproduced in        freedom of expression of the defendant prevails over the
any way, as long as they are not an accessory figure. Vigoreaux      interests of the photographed subject. Id., citing Luis Dí ez-
Lorenzana vs. Quizno’s Sub, 173 D.P.R. 254, 263 (2008).              Picazo & A. Gullón Ballesteros, Sistema de Derecho Civil
                                                                     [Civil Law System] 377 (Tecnos 1992).
*19 In general, the image constitutes a projection or
representation of the human figure. In this regard, the High
Court resolved that “[one’s] image constitutes a fundamental
attribute with which a person is socially individualized; that is,
it is part of their personal identity. As such, it is worthy of
protection due to its close relationship with the intimacy of the
person as well as with their honor.” López Tristavi vs.
Maldondado, 168 D.P.R. 838, 851 (2006). Then, in the opinion




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In accordance with the foregoing, the High Court established         It is also stated that the unauthorized use of a person’s image
as a rule that any injury to the personality is unlawful, unless     for commercial purposes, without their consent or
there is a justifying reason or the consent of the affected party,   remuneration, generally gives rise to a cause of action for
or that the act is considered socially appropriate, because it is    damages, caused by the violation of the affected person’s right
in accordance with law, in attention to the social ethical           to publicity. Vigoreaux Lorenzana vs. Quizno’s Sub, 173
ordering of community life. Vigoreaux Lorenzana vs. Quizno’s         D.P.R., on pg. 267, citing R. Schechter & J. Thomas,
Sub, 173 D.P.R., on pg. 265; Colón vs. Romero Barceló, 112           Intellectual Property: The Law of Copyrights, Patents and
D.P.R. 573, 578 (1982).                                              Trademarks 263–269 (Thomson & West 2003).

*20 Now, in Vigoreaux Lorenzana vs. Quizno’s Sub, the                                              -C-
Supreme Court recognized that the right to one’s own image
in other jurisdictions is not limited to being an aspect derived     After this case law was established, the Law on the Right to
from the right to privacy. The prevailing current trend, both in     One’s Image, Law No. 139-2011 of July 13, 2011, 31 L.P.R.A.
Civil Law and in Common Law, is the recognition of image             § 3151 et seq. This new measure essentially seeks protection
protection as an independent right. This right grants its owner      against the unauthorized or non-consented use of one’s own
the power erga omnes to exclude the reproduction and                 image for commercial or advertising purposes. Article 1 of the
publication of the image itself by a third party who lacks           aforementioned statute establishes that “image” shall mean the
consent to do so, giving rise to the non-contractual liability of    “name, photograph, portrait, voice, signature, attribute, or any
the person who thus publishes and reproduces it.                     representation of a person that serves to identify that person,
                                                                     before an average observer or listener, by means of any
On the other hand, civil law doctrine has argued that image          reproduction procedure or technique.” 32 L.P.R.A. § 3151(c).
rights constitute more of a property right than a personality
right. This is the view that has also been adopted by federal        *21 Article 2 of the law establishes the following causes of
case law and by a large part of the U.S. States, under the figure    action:
of the “right of publicity.” 25 Under this property protection,
which is characterized as an intellectual property right, the           Any natural or legal person who uses the image of another
subject has the right to participate economically in the                person for commercial, mercantile, or advertising purposes
commercialization of his own image, name, or likeness. F.               without the prior consent of the latter, of the person who
Igartúa Arregui, The commercial appropriation of the image              holds a license on said image, of the heirs in case of death
and names of others 76–98 (Tecnos 1991).                                or of the authorized agent of one of these, will be
                                                                        responsible for the damages caused.
Regarding this peculiarity, the Supreme Court of Puerto Rico
points out that, although it can be said that the economic value        In the event that the consent required in this Law is not
of a person’s image is of an intangible nature, it may have a           obtained, the affected person may file an action to stop the
commercial or advertising value that responds to the particular         use of said image and to recover the damages caused,
characteristics and efforts of the person in a certain area. For        including unearned royalties or any economic loss
such purposes, the doctrine suggests that, in these cases, there        resulting from the violation of the right established
are economic damages as a result of a decrease in income that           herein.
could have been obtained by the consented participation of the
individual in the market; or because of an unjust enrichment         32 L.P.R.A. § 3152. 27
from which he has obtained benefits at the expense of the
characteristics of the identity of another person, without           In summary, if it is shown that the defendant used the image
compensating him for it. Vigoreaux Lorenzana vs. Quizno’s            of a person for any lucrative or commercial purpose, the
Sub, 173 D.P.R., on pg. 267, no. 8.                                  aforementioned legislation grants the injured party, whether
                                                                     this is a public figure or not, the remedy of an injunction, a
                                                                     cause of tortious action or the statutory remedy. 28 In case
                                                                     of prevailing, the sentencing court may set the amount of
                                                                     damages based on the following criteria: “(1) the gross profit
                                                                     that the infringing party had obtained through the use of the
                                                                     image in question; (2) the amount of the profit that the injured
                                                                     person failed to receive as a result of the actions of the



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defendant; (3) the value of the impairment that the defendant’s                                      -D-
actions would have caused the plaintiff; (4) and any other
factor that, in the judgment of the court, adequately qualifies       The article published in TV y Novelas was announced on the
the damages.” 32 L.P.R.A. § 3153.                                     cover of the magazine with a photo of Messrs. Ayala Otero and
                                                                      Rivera Nieves together with the text: “Scandal! They accuse a
The exceptions to the application of the legislative norm are         Gurabo police officer of being a rapist.” Inside the magazine,
configured in the following instances:                                the same photo was reproduced in larger size. The article,
                                                                      entitled “Eduardo Rivera Nieves accuses a police officer of
 (a) When the image of a person is used on any medium as              rape,” was given a headline that read “Real Life Soap Opera.”
 part of a news report, political expression, the transmission
 of a sporting or artistic event, or a presentation that has a        Regarding the part of the photograph that shows the face of
 legitimate public interest, [provided that] 29 it is not used for    Mr. Ayala Otero, it does not appear from the file who took it
 commercial or advertising purposes.                                  or under what circumstances. The photograph was provided by
                                                                      Mr. Rivera Nieves without the consent or knowledge of Mr.
 (b) When the image of a person is used as part of a satire or        Ayala Otero. Regarding the claim for violation of the right to
 parody, where the main purpose of the use of the image is not        one’s own image, for placing that photo on the cover of the
 commercial or advertising.                                           magazine and in the middle of the report that refers to the
                                                                      plaintiff Ayala Otero, Mr. Venegas Guzmán’s deposition is
   (c) When the image is used for critical or commentary,             quite illustrative of the goal of that editorial decision. Here is
   academic, or research purposes, provided that such use             an important fragment:
   does not constitute a covert exploitation of the protected
   image.                                                               MS. MORAIMA CARRASQUILLO COLON

   (d) When the image of an accessory person is used.                   Q The fact that... The fact that the other party, in this case
                                                                        the plaintiff, Samuel, was a police officer.
32 L.P.R.A. § 3157. (Emphasis and underlining are ours).
                                                                        MR. WILLIAM MAURICIO VENEGAS GUZMAN
Now, it is important to note that, as regards the possible
exceptions referred to in that article, a simple reading is             A Yes.
sufficient to understand that, even if it is indeed determined
that the conduct imputed to the defendant parties constitutes a         Q Was that the reason you put it on the cover?
“news report, political expression, the transmission of a
sporting or artistic event, or a presentation that has a legitimate     A That was the main reason I published it. Analyzing, even,
public interest, [ ... ],” this in itself is not enough to exempt       the photograph.
them from liability, because it also requires that the
questioned action “not be used for commercial or advertising            Q Please elaborate more on what you analyzed in the
purposes.” Note that the provision emphasizes at all times that         photograph.
these defenses are available to the medium if the purpose of
the reproduction of the image is not “commercial or                     A When I saw several photograph options, I realized that
advertising” or a “disguised exploitation.”                             that photograph carried a clear message from two people
                                                                        who would corroborate the headline and the story with the
*22 Law No. 139-2011 also establishes a limited immunity to             single image. And since it was documented, right?, and... uh,
the owners or employees of any mass communications media                I was going to put the word “police” on the cover, well, it
in which the image of a person appears in violation of the              was going to be a hook that drew attention, and people were
statute. They will not be responsible for the damage caused,            going to have interest in reading it. More if... I used, as I
except in the case “in which it is established that they were           did, the word “scandal,” which are words that, for all
aware that the use of that image was made without the required          human beings, right, generate additional interest?
authorization.” 32 L.P.R.A. § 3158.




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 Q That is, that the fact that… to publish it on the cover, the   We agree with the Court of First Instance that, regarding the
 reason for publishing the photo on the cover, right, I have      question raised, the dispute over whether Editorial Televisa
 to understand that it was to be able to sell more magazines?     and its employees Matos Figueroa and Venegas Guzmán had
                                                                  the editorial, commercial, or advertising intention of placing
 A It was part of the editorial concept that I managed in         the photo of Mr. Ayala Otero on the cover, to attract “the
 order to attract attention, right. This is a business, yes,      attention of the clients,” which is the same as saying “to ‘sell’
 but I take into account several elements there, right, that      the magazine,” requires the holding of an evidentiary view. As
 have to do with the interest of readers, commercial              the Ninth Circuit Court of Appeals ruled: “The first step
 interests, advertising interests, journalistic interests.        toward selling a product or service is to attract the consumers’
                                                                  attention.” Abdul(Quotes omitted).
 *23 Q Would the answer be yes, it was to bring in more
 customers?                                                       As we have already pointed out, the fact that the publication
                                                                  had a legitimate interest does not release, by that fact alone,
 MS. LIZETTE C. VELEZ RIVE:                                       the appellant parties from civil liability. We saw that, even if
                                                                  the publication is determined to constitute a “news report,
 A He already answered it, miss.                                  political expression, the transmission of a sporting or artistic
                                                                  event, or a presentation that has a legitimate public interest, [
 [ ... ]                                                          ... ],” this does not provide grounds for dismissing the lawsuit
                                                                  for violating image rights, since the law requires that the image
 MS. MORAIMA CARRASQUILLO COLON
                                                                  “not be used for commercial or advertising purposes.” Law
                                                                  139 emphasizes at all times that the defense of public interest
 Q What I want to know is if it was a... a... one of the goals
                                                                  is available to the news media if the purpose of the
 was to attract more customers.
                                                                  reproduction of the image is not “commercial or advertising”
 MR. WILLIAM MAURICIO VENEGAS GUZMAN                              or a “disguised exploitation.”

 A I am a journalist and my intention is to attract attention     As the Court of First Instance pointed out in its judgment, that
 with a means of communication, right, since it is a magazine.    purpose is not entirely clear in this case. Mr. Ayala Otero has
 The company has its interests, it would be necessary to ask      the right to prove that the exception of public interest claimed
 the company what its interests are, as such. Mine is to please   by Editorial Televisa and Messrs. Matos Figueroa and
 people, draw attention, entertain people, cause an interest.     Venegas Guzmán does not exist, because their immediate
                                                                  objective in using the photograph on the cover of the magazine
 Q Please open the magazine you have there to page 86.            and in the text of the article was predominantly commercial or
 Before that, were you, in fact, the one who decided to           advertising, which could generate compensation, even
 publish that photo on the cover and that photo on page 86 of     statutory, if proven by a preponderance of proof.
 the magazine?
                                                                  *24 The confirmation of this part of the appealed partial
 A Yes.                                                           judgment is admissible.

 Q Were you the one who chose the photo?                                                         V

 A Yes.                                                           For the grounds expressed, the judgment appealed against is
                                                                  upheld to the fullest extent. The suspension of the proceedings
 [ ... ]                                                          before the Court of First Instance is annulled and the
                                                                  continuation of the proceedings is ordered.
Our emphasis. Compliance Brief of Mr. Ayala Otero, pgs.
488–492.




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It was agreed and ordered by the Court and certified by the     DIMARIE ALICEA LOZADA
Clerk of the Court of Appeals.
                                                                Clerk of the Court of Appeals




                                                       Footnotes


1       Through administrative orders TA-2016-113 and TA-2016-128, the Hon. Sigfrido Steidel Figueroa, replacing
        the Hon. Laura I. Ortiz Flores to attend to the final disposition of both cases.
2       In the recourse KLAN201600735, there appear as appellees: ES Televisión Corp., Telemundo of Puerto Rico
        Inc., Leo Fernández III, Saudy Rivera, Diosdada Romero, Tomás Ramos, t/c/c Red Shadow, Raad
        Broadcasting Corp., Editorial Televisa–Puerto Rico, h/n/c Revista TV y Novelas of Puerto Rico, Omar Matos
        Figueroa, and William Venegas Guzmán.
3       In the resource KLAN201600763, only Samuel Ayala Otero appears as appellee.
4       App. of the case KAN201600735, pgs. 1–5; see, also, the amended lawsuit in the App. of the case
        KLAN201600735 on pgs. 41–47.
5       Annex to case KLAN201600735, pgs. 735–739.
6       In summary, it reported that Mr. Rivera Nieves expressed in both complaints that he had threatened him with
        his regulation weapon and physically and sexually assaulted him, that he incited him to perform oral sex in a
        patrol car during working hours, which, according to Mr. Rivera Nieves, had already happened, among other
        supposedly false facts. Based on the documents submitted in the annexes to both recourses, we take legal
        notice that none of the complaints produced administrative or criminal sanctions against Mr. Ayala Otero.
7       Annex to case KLAN201600735, pgs. 673–675.
8       Annex to case KLAN201600735, pgs. 636–662.
9       Annex to case KLAN201600735, pgs. 663–672. See also Annex XIII.
10      See, Annex to case KLAN201600735, pgs. 452–473.
11      Annex to case KLAN201600735, pgs. 6–40; 48–83.
12      See, Annex to case KLAN201600763, pgs. 30–295; Annex to Deed pursuant to order, pgs. 46–471; Annex
        to Joint Opposition, pgs. 5–37; 1692–1950; Annex to Argument in Opposition, pgs. 1–49; Annex to Opposition
        to recourse for appeal, pgs. 122–163.
13      Annex to case KLAN201600735, pgs. 109–446.
14      Annex to case KLAN201600735, pgs. 447–451.
15      Annex to case KLAN201600763, pgs. 1053–1059.
16      Annex to case KLAN201600763, pgs. 1067–1073.
17      Quoting Santos Briz, Civil liability 146 (7th Ed., Editorial Montecorbo 1993).
18      Section 2 of the Libel and Slander Act defines libel as follows: Libel is understood as malicious defamation
             that is publicly made against a person, in writing, print, a sign, portrait, figure, effigy, or other mechanical
             means of publication, tending to expose said person to the hatred of the people or their contempt, or to
             deprive them of the benefit of public trust and social treatment, or to injure or disgrace them, or any
             published malicious defamation, as aforesaid with the intention of denigrating or depressing the memory
             of a dead person and discrediting or provoking surviving relatives and friends.
          32 L.P.R.A. § 3142.
19      In determining whether the plaintiff is a public figure, the court must consider the following factors: (1) whether
        they are particularly prominent in the affairs of society; (2) if they have the capacity to exercise influence and
        persuade in the discussion of matters of public interest; (3) if they actively participate in the discussion of
        specific public disputes with the purpose of tipping the balance in the resolution of the issues involved; (4) the
        importance or public interest of the matter or dispute in question; (5) the nature of the allegedly defamatory
        statement; (6) to whom the expression is directed; and (7) the functional relationship between these last two



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        factors. Garib Bazain vs. Clavell, 135 D.P.R., 475, 482–483 (1994); Torres Silva vs. El Mundo, Inc., 106
        D.P.R. 415, 422 (1977).
20      Definitely, New York Times Co. vs. Sullivan, 376 US 254, 279–280, 84 S.Ct. 710, 11 L.Ed.2d 686 (1964),
        “mark[ed] a new milestone in strengthening the constitutional guarantee of freedom of the press by
        determining that the publication of a false report or unwarranted comments relating to the official conduct of
        a public official are immune from libel claims and enjoy a restricted privilege, unless the information was
        published knowingly to be false or in serious disregard as to whether it was false or not. It will be necessary [
        ... ] for the public official to demonstrate the existence of actual malice as an essential requirement to be
        compensated for damage to his reputation.” José Julián Álvarez González, Constitutional law of Puerto Rico
        and constitutional relations with the United States 997 (Temis 2009).
21      See also Clavell vs. El Vocero de PR, 115 D.P.R. 685, 692–693 (1984).
22      For example, in Oliveras vs. Paniagua Diez, 115 D.P.R. 257 (1984), Judge Rebollo López expressed in his
        concurring opinion that expressions, comments, or criticism “are not libelous under the doctrine of the ‘fair
        comment’ or of the logical and reasonable inference that a person can make of a certain fact, which are
        protected by the right of freedom of expression that are guaranteed to every person by the Constitution of the
        Commonwealth of Puerto Rico and the Constitution of the United States of America.” Id., 115 D.P.R., on pg.
        272.
23      This protection of the free exchange of ideas and thoughts is evident in a society like the United States, whose
        mores and practices in political interaction we have copied. There and here, the constant, meticulous, and
        bitter accusations and questions to public officials are frequent, habitual, and constitute part of the daily and
        recurrent political activity. Regarding this specific behavior, the writer Nimmer has expressed the following
        when referring to the defense of hyperbole, although his words are equally applicable to any defense related
        to inferences or reports on actions of public officials:
               In determining whether a statement is in fact false, it is sometimes necessary to look beyond the literal
               meaning of the words in order to determine the message in fact communicated. If it is manifest that if the
               speaker is engaging in hyperbole, then an appropriate discounting of literal meaning must be made.
               Thus, “the overenthusiastic use of rhetoric” will not divest the speech of First Amendment protection,
               even though in a sense the speech involves knowing falsity. Such hyperbole is particularly likely to arise
               in the realms of religious faith and political belief. The Supreme Court has observed that in both these
               fields the tenets of one man may seem the rankest error to his neighbor. To persuade others to his own
               point of view, the pleader, as we know, at times resorts to exaggeration, to vilification of men who have
               been, or are, prominent in church or state, and even to false statement. But the people of this nation
               have ordained in the light of history that, in spite of the probability of excesses and abuses, these liberties
               are, in the long view, essential to enlightened opinion and the right conduct on the part of the citizens of
               a democracy.
           Nimmer On Freedom of Speech: A Treatise on the Theory of First Amendment, sec. 3.03[B][4], pgs. 3–24
           to 3–25 (1984).)
24      See also Gertz vs. Robert Welch, Inc., 418 US 323, 342, 94 S.Ct. 2997, 41 L.Ed.2d 789 (1974), and St. Amant
        vs. Thompson, 390 US 727, 731, 88 S.Ct. 1323, 20 L.Ed.2d 262 (1968); Libel and slander: what constitutes
        actual malice, within federal constitutional rule requiring public officials and public figures to show actual
        malice, 20 A.L.R. [American law Reports] 3d 988; Who is ‘public official’ for purposes of defamation action,
        44 A.L.R. 5th 193; Criticism or disparagement of character, competence, or conduct of candidate for office as
        defamation, 37 A.L.R. 4th 1088.




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26      United States case law recognizes that one of the most important differences between the right to privacy
        and the protection of image rights, or right to the publicity of the image, is the economic value of its use by a
        third person. The person requesting the protection of his right of publicity has to prove the existence of the
        commercial value of his image or the use of his image. That is, the right to publicity protects individuals from
        the exploitation of their names and likenesses for commercial purposes; it protects a proprietary right,
        concentrated in the economic value of the name and the likeness. That is why it is said that the violation of
        the right to publicity becomes an unjust enrichment of those who make inappropriate use of another’s image.
        Thus it was resolved in Zacchini vs. Scripps–Howard Broad. Co., 433 US 562, 97 S.Ct. 2849, 53 L.Ed.2d 965
        (1977).
27      The statute defines the following terms:
              h) Commercial purpose—the use of a person’s image in connection with an advertisement, offer for sale,
              or sale of a product, merchandise, good, or service on the market.
              i) Advertising purposes—the use of a person’s image when disseminating or informing the public about
              a good or service on the market through the media, including use in institutional advertisements.
          Art. 1 of Law No. 139-2011(h)(i).
28      Statutory damages may be assessed in an amount of not less than $750 and not more than $20,000 per
        violation, at the discretion of the court. If the judge determines that the violation was intentional or grossly
        negligent, the amount of statutory damages may be increased to no more than $100,000 per violation. Each
        violation under these statutory damages will be equivalent to the act of unlawful use of the claimant’s image
        in a work, regardless of the number of copies made of the work in question at any given time. In addition,
        contrary to our civil law, which establishes that ignorance of the law does not excuse noncompliance (31
        L.P.R.A. § 2), Law No. 139–2011 provides that “[w]here the court determines that the defendant was unaware
        of and had no reason to know or believe that his actions constituted a violation of the rights of the plaintiff, the
        court, at its discretion, may reduce the amount of damages.”
29      The original text that replaces the bracket is “and where,” which does not reflect the true meaning of the
        judgment. That is why we have replaced it with “whenever.”


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